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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
           IN AND FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

BRIANA MACK,                  )
                              )
    Plaintiff,                )
                              )
v.                            ) CASE NO.: 5:18-cv-00316-HNJ
                              )
DIVERSICARE LEASING CORP. and )
DIVERSICARE HEALTHCARE        )
SERVICES, INC.                )
                              )
    Defendants.               )

          JOINT MOTION FOR STIPULATED JUDGMENT
     APPROVING SETTLEMENT AND FILING THE SETTLEMENT
                  AGREEMENT UNDER SEAL

      COME NOW the Parties, Plaintiff Briana Mack (“Plaintiff”) and Defendants

Diversicare     Leasing    Corp.   and   Diversicare   Healthcare    Services,   Inc.

(“Defendants”), and respectfully request that the Court enter a joint stipulation of

judgment approving the Parties’ settlement. The Parties further request that the

Court grant their request to file the settlement agreement under seal. In support of

this motion, Parties state as follows:

      1.       This lawsuit was filed by Plaintiff under the Fair Labor Standards Act

(“FLSA”). Under the FLSA, any settlement between the parties must be approved

by the Court (or the Department of Labor) as being fair and consistent with the

purposes of the Act.
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      2.       The Parties have entered into an agreement representing a fair and

reasonable compromise of disputed claims.

      3.       Counsel for Parties have conferred with their respective clients and

have agreed to jointly file this motion, requesting leave to file their supporting

settlement agreement under seal. Pursuant to this Court’s Order and the Court’s

Administrative Procedures Manual, the Parties have simultaneously submitted to the

Court clerk a paper copy of this motion as well as the settlement agreement.

      4.       Neither party will be prejudiced by granting this motion to file under

seal in any way.

      5.       Neither party will be prejudiced by the Court entering a stipulated

judgment not disclosing the terms of the settlement.

      6.       Granting the motion to file under seal and entering a stipulated

judgment not disclosing the terms of the settlement is fair and reasonable.

      7.       Consistent with the decision in Lynn’s Foods, the parties are still

presenting the district court with a proposed settlement, and the district court enters

a stipulated judgment approving the fairness of the settlement. Lynn's Food Stores,

Inc., 679 F.2d at 1353; see also D.A. Schulte, Inc. v. Gangi, 328 U.S. 108, 113 n.8

(1946) (discussing propriety of allowing settlement of FLSA claims where district

court has reviewed terms of settlement agreement).




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      8.       The limited nature of certain settlement provisions and mutuality

ensure that the settlement is not benefitting the employer alone at the employee’s

expense.

      9.       The record already contains enough information by which the public

can ascertain the strength of Plaintiff’s claim. The public’s interest in assuring the

employee’s wages are fair is adequately protected, as are the public’s rights. Denying

the Parties’ motion to file under seal would not materially promote the public’s right

to assure that Defendants paid Plaintiff fairly. See Chris Crabtree, et al v. Volkert,

Inc. Case No 1:11-cv-00529-WS-B, Doc. 58 p.7

      WHEREFORE, PREMISES CONSIDERED, Parties respectfully request that

this Court grant them leave to file the Parties’ Settlement Agreement under seal for

the Court’s review. Following the review, the Parties request the Court enter a

stipulated judgment approving the settlement of claims in this case as fair and

reasonable based on the Court’s review of Parties’ Settlement Agreement.

      Submitted this the 17th day of July, 2018.




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